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  9
                           UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
 11
      BRIAN DONLEY, Individually and on        Case No.
 12 Behalf of All Others Similarly Situated,
                                               CLASS ACTION COMPLAINT
 13               Plaintiff,                   FOR VIOLATIONS OF THE
                                               FEDERAL SECURITIES LAWS
 14         v.
 15 LIVE NATION ENTERTAINMENT,
      INC., MICHAEL RAPINO, and JOE
 16 BERCHTOLD,

 17               Defendant.
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  1        Plaintiff Brian Donley (“Plaintiff”), individually and on behalf of all others
  2 similarly situated, by and through his attorneys, alleges the following upon

  3 information and belief, except as to those allegations concerning Plaintiff, which are

  4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,

  5 among other things, his counsel’s investigation, which includes without limitation:

  6 (a) review and analysis of regulatory filings made by Live Nation Entertainment,

  7 Inc. (“Live Nation” or the “Company”) with the United States (“U.S.”) Securities

  8 and Exchange Commission (“SEC”); (b) review and analysis of press releases and

  9 media reports issued by and disseminated by Live Nation; and (c) review of other

 10 publicly available information concerning Live Nation.

 11                  NATURE OF THE ACTION AND OVERVIEW
 12        1.    This is a class action on behalf of persons and entities that purchased or
 13 otherwise acquired Live Nation securities between February 23, 2022 and July 28,

 14 2023, inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants

 15 under the Securities Exchange Act of 1934 (the “Exchange Act”).

 16        2.    Live Nation is live entertainment company and concert and ticketing
 17 platform operating in 48 countries. Live Nations owns, operates, and has exclusive

 18 booking rights for a number of global venues and claims to be one of the world’s

 19 leading artist managements companies. Through Ticketmaster, Live Nation provides

 20 ticket sales and resale services for concerts, sporting events, performing arts

 21 experiences, festivals, museums, and theaters.

 22        3.    Live Nation and Ticketmaster merged in January 2010 but were under a
 23 consent decree with the U.S. Department of Justice (“DOJ”) to preserve competition

 24 in the live events market. In 2019, Live Nation faced federal scrutiny for pressuring

 25 concert venues to use Ticketmaster over other systems in five incidents, which

 26 would have violated the consent decree. To resolve these claims, the Company

 27 extended the consent decree to expire in December 2025 and added new provisions.

 28 Pursuant to the amended consent decree, Live Nation agreed to abide by a set of

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  1 rules, including not threatening to condition the provision of Live Nation concerts

  2 on a venue choosing Ticketmaster or retaliate in response to a venue choosing a

  3 ticketing service provider other than Ticketmaster. The Company is subject to an

  4 automatic penalty of $1 million for each violation.

  5        4.    On November 18, 2022, The New York Times reported that the DOJ
  6 had opened an antitrust investigation into Ticketmaster and Live Nation after the

  7 ticketing platform’s systems crashed during a highly-anticipated presale for Taylor

  8 Swift tickets. The ensuing chaos of disappointed “Swifties” highlighted Live

  9 Nation’s power over the live music industry, exacerbating complaints that the

 10 Company has “constrained competition and harmed consumers.”

 11        5.    On this news, Live Nation’s stock price fell $5.64, or 7.8%, to close at
 12 $66.21 per share on November 18, 2022, on unusually heavy trading volume.

 13        6.    Then, on February 23, 2023 at 3:30 p.m. Eastern time, NPR reported
 14 that, following Congressional hearings, the Senate Judiciary Subcommittee on

 15 Competition Policy, Antitrust, and Consumer Rights wrote to the DOJ, presenting

 16 evidence that “Live Nation is harming America’s music industry.” The letter cited

 17 issues with Live Nation’s pricing models and fees, increasingly long contracts with

 18 competitors, and retaliatory behavior against artists and venues that don’t want to

 19 work with it. The senators “encourage[d]” the DOJ to take action if it found Live

 20 Nation had “walled itself off from competitive pressure at the expense of the

 21 industry and fans.”

 22        7.    On this news, Live Nation’s stock price fell $7.71, or 10.1%, to close at
 23 $68.78 per share on February 24, 2023, on unusually heavy trading volume.

 24        8.    Then, on July 28, 2023 at 3:13 p.m. Eastern time, Politico reported that
 25 the DOJ “could file an antitrust lawsuit against [Live Nation and Ticketmaster] by

 26 the end of the year, according to three people with knowledge of the matter.”

 27 Politico further reported that the DOJ complaint is expected to allege that “the

 28 entertainment giant is abusing its power over the live music industry.”

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  1          9.    On this news, Live Nation’s stock price fell $7.60, or 7.8%, to close at
  2 $89.33 per share on July 28, 2023, on unusually heavy trading volume.

  3          10.   Throughout the Class Period, Defendants made materially false and/or
  4 misleading statements, as well as failed to disclose material adverse facts about the

  5 Company’s business, operations, and prospects. Specifically, Defendants failed to

  6 disclose to investors: (1) that Live Nation engaged in anticompetitive conduct,

  7 including charging high fees and extended contracts with talent, and retaliated

  8 against venues; (2) that, as a result, Live Nation was reasonably likely to incur

  9 regulatory scrutiny and face fines, penalties, and reputational harm; and (3) that, as a

 10 result of the foregoing, Defendants’ positive statements about the Company’s

 11 business, operations, and prospects were materially misleading and/or lacked a

 12 reasonable basis.

 13          11.   As a result of Defendants’ wrongful acts and omissions, and the
 14 precipitous decline in the market value of the Company’s securities, Plaintiff and

 15 other Class members have suffered significant losses and damages.

 16                            JURISDICTION AND VENUE
 17          12.   The claims asserted herein arise under Sections 10(b) and 20(a) of the
 18 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

 19 thereunder by the SEC (17 C.F.R. § 240.10b-5).

 20          13.   This Court has jurisdiction over the subject matter of this action
 21 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §

 22 78aa).

 23          14.   Venue is proper in this Judicial District pursuant to 28 U.S.C. §
 24 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts

 25 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

 26 Judicial District. Many of the acts charged herein, including the dissemination of

 27 materially false and/or misleading information, occurred in substantial part in this

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  1 Judicial District. In addition, the Company’s principal executive offices are located

  2 in this District.

  3        15.    In connection with the acts, transactions, and conduct alleged herein,
  4 Defendants directly and indirectly used the means and instrumentalities of interstate

  5 commerce, including the United States mail, interstate telephone communications,

  6 and the facilities of a national securities exchange.

  7                                        PARTIES
  8        16.    Plaintiff Brian Donley, as set forth in the accompanying certification,
  9 incorporated by reference herein, purchased Live Nation securities during the Class

 10 Period, and suffered damages as a result of the federal securities law violations and

 11 false and/or misleading statements and/or material omissions alleged herein.

 12        17.    Defendant Live Nation is incorporated under the laws of Delaware with
 13 its principal executive offices located in Beverly Hills, California. Live Nation’s

 14 common stock trades on the New York Stock Exchange under the symbol “LYV.”

 15        18.    Defendant Michael Rapino (“Rapino”) was the Company’s Chief
 16 Executive Officer (“CEO”) at all relevant times.

 17        19.    Defendant Joe Berchtold (“Berchtold”) was the Company’s Chief
 18 Financial Officer (“CFO”) at all relevant times.

 19        20.    Defendants Rapino and Berchtold (collectively the “Individual
 20 Defendants”), because of their positions with the Company, possessed the power

 21 and authority to control the contents of the Company’s reports to the SEC, press

 22 releases and presentations to securities analysts, money and portfolio managers and

 23 institutional investors, i.e., the market. The Individual Defendants were provided

 24 with copies of the Company’s reports and press releases alleged herein to be

 25 misleading prior to, or shortly after, their issuance and had the ability and

 26 opportunity to prevent their issuance or cause them to be corrected. Because of their

 27 positions and access to material non-public information available to them, the

 28 Individual Defendants knew that the adverse facts specified herein had not been

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  1 disclosed to, and were being concealed from, the public, and that the positive

  2 representations which were being made were then materially false and/or

  3 misleading. The Individual Defendants are liable for the false statements pleaded

  4 herein.

  5                         SUBSTANTIVE ALLEGATIONS
  6                                     Background
  7        21.   Live Nation is live entertainment company and concert and ticketing
  8 platform operating in 48 countries. Live Nations owns, operates, and has exclusive

  9 booking rights for a number of global venues and claims to be one of the world’s

 10 leading artist managements companies. Through Ticketmaster, Live Nation provides

 11 ticket sale and resale services for concerts, sporting events, performing arts

 12 experiences, festivals, museums, and theaters.

 13        22.   Live Nation and Ticketmaster merged in January 2010 but were under a
 14 consent decree with the U.S. Department of Justice (“DOJ”) to preserve competition

 15 in the live events market. In 2019, Live Nation faced federal scrutiny for pressuring

 16 concert venues to use Ticketmaster over other systems in five incidents, which

 17 would have violated the consent decree. To resolve these claims, the Company

 18 extended the consent decree to expire in December 2025 and added new provisions.

 19 Pursuant to the amended consent decree, Live Nation agreed to abide by a set of

 20 rules, including not threatening to condition the provision of Live Nation concerts

 21 on a venue choosing Ticketmaster or retaliate in response to a venue choosing a

 22 ticketing service provider other than Ticketmaster. The Company is subject to an

 23 automatic penalty of $1 million for each violation.

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  1                                   Materially False and Misleading
  2                             Statements Issued During the Class Period
  3             23.    The Class Period begins on February 23, 2022.1 On that day, Live
  4 Nation filed its annual report on Form 10-K for the period ended December 31,

  5 2021. Therein, the Company stated:

  6             In December 2019, we agreed with the United States Department of
                Justice to extend and clarify the court-imposed final judgment to
  7             which we became subject in connection with the merger of Live
                Nation, Inc. and Ticketmaster Entertainment LLC, which places
  8             certain restrictions and obligations on us which could negatively
                impact our business.
  9
                In connection with the merger of Live Nation, Inc. and Ticketmaster
 10             Entertainment LLC in 2010, we became subject, through July 2020, to
                a court-imposed final judgment (the “Final Judgment”) that places
 11             certain restrictions and obligations on us in order to address the issues
                the United States Department of Justice (the “DOJ”) raised in its
 12             antitrust review of the merger. Pursuant to the Final Judgment, we
                agreed to abide by certain behavioral remedies and to provide periodic
 13             reports to the DOJ about our compliance with the Final Judgment. The
                Final Judgment was due to expire in July 2020; in December 2019, we
 14             reached an agreement with the DOJ to clarify certain aspects of the
                Final Judgment and extend its duration through the end of 2025 (the
 15             “Amended Final Judgment”).
 16             Under the Amended Final Judgment we may not (i) threaten to
                condition (or actually condition) the provision of Live Nation
 17             concerts on a venue choosing Ticketmaster, or (ii) retaliate (i.e.,
                withhold any Live Nation concerts) in response to a venue choosing a
 18             ticketing services provider other than Ticketmaster. In addition,
                pursuant to the Amended Final Judgment, (i) an independent monitor
 19             has been appointed to monitor and report to the DOJ on our compliance
                with the Amended Final Judgment, and investigate any potential
 20             violations thereof, (ii) we appointed an internal antitrust compliance
                officer and have conducted (and will continue to annually conduct)
 21             internal trainings to ensure our employees fully comply with the
                Amended Final Judgment; (iii) we provided, and will continue to
 22             provide, notice to current or potential venue customers of the Amended
                Final Judgment and its restrictions on our business conduct; and (iv) we
 23             are subject to an automatic penalty of $1,000,000 for each violation.
                We agreed to pay costs and fees for the independent monitor and the
 24             DOJ’s past investigation and enforcement.
 25             During the duration of the Amended Final Judgment, we are restricted
                from engaging in certain business activities that, absent the Final
 26             Judgment, would be lawful for us to undertake. Our inability to
 27   1
          Unless otherwise stated, all emphasis in bold and italics hereinafter is added.
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  1         undertake these business strategies could disadvantage us when we
            compete against firms that are not restricted by any such order. In
  2         addition, our business will be under continued and enhanced scrutiny
            by the DOJ, including by the independent monitor. Our compliance
  3         with the Amended Final Judgment therefore creates certain
            unquantifiable business risks for us.
  4
      (First emphasis in original.)
  5
            24.    On May 5, 2022, Live Nation filed its Form 10-Q for the quarterly
  6
      period ended March 31, 2022. Therein, the Company stated that it faced class action
  7
      lawsuits in Canada alleging that “Live Nation and/or Ticketmaster engage in
  8
      conduct that is intended to encourage the resale of tickets on secondary ticket
  9
      exchanges at elevated prices.” The Company stated:
 10
            Based on information presently known to management, we do not
 11         believe that a loss is probable of occurring at this time, and we believe
            that the potential liability, if any, will not have a material adverse effect
 12         on our financial position, cash flows or results of operations. Further,
            we do not currently believe that the claims asserted in these lawsuits
 13         have merit, and considerable uncertainty exists regarding any
            monetary damages that will be asserted against us. We continue to
 14         vigorously defend these actions.
 15         25.    In conjunction with the 10-Q, the Company issued a press release,
 16 which stated:

 17         The industry continues to embrace market-based pricing, particularly
            on the best tickets, shifting $500 million to artists for shows this year,
 18         resulting from a double-digit increase in ticket pricing, and reducing
            the price arbitrage in the secondary market. At the same time, in the
 19         U.S., the average entry level price to get in and enjoy the show remains
            under $35, approachable for almost all fans.
 20
            26.    On August 4, 2022, Live Nation filed its Form 10-Q for the quarter
 21
      ended June 30, 2022, stating:
 22
            Our Ticketing segment revenue for the quarter grew by $331 million,
 23         from $244 million in the second quarter of 2021 to $575 million in the
            second quarter of 2022. Ticketing AOI for the quarter increased by
 24         $131 million, from $99 million in 2021 to $231 million in 2022. The
            improvement resulted from an increase in ticket sales, upward pricing
 25         momentum due to higher fan demand, and higher ancillary revenue
            streams. Our fee-bearing ticket sales for the quarter were 72 million, 46
 26         million higher than in the second quarter of last year. This was a record
            quarter for reported ticket sales, exceeding our last record set in the
 27         fourth quarter of 2018 by 9 million tickets or 15%. The increase was
            largely driven by sales in the United States, the United Kingdom, our
 28         mainland European markets, and the addition of OCESA. Our resale

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  1         business continued to excel, with nearly a billion dollars in GTV for
            the second quarter of 2022, more than doubling resale GTV in the
  2         second quarter of 2019. It was our second highest resale quarter ever,
            powered by both Concerts and all the major sporting leagues. For the
  3         first six months of 2022, our Ticketing revenue grew by $783 million,
            from $272 million in 2021 to $1.1 billion in 2022. Ticketing AOI for
  4         the first six month increased by $400 million, from $37 million in 2021
            to $437 million in 2022. Through the end of June, our fee-bearing
  5         ticket sales are 124 million tickets, 91 million ahead of 2021 and,
            notably, 20 million ahead of 2019 when all markets were fully open.
  6         Resale GTV through the end of June 2022 was over $1.8 billion which
            is 90% of our full-year resale GTV in 2019. Overall pricing on our fee-
  7         bearing tickets for the first half of the year is up more than 15%
            compared to 2019. Consumer demand for premium seats and VIP
  8         experiences has continued, with our Ticketmaster dynamic price sales
            and GTV growing by 2.5 times the volume in 2019. Lastly, we have
  9         signed 13 million net new tickets so far this year, which gives us
            confidence that the Ticketmaster features and functionality will
 10         continue to fuel growth going forward.
 11                                      *      *     *
 12         Ticketing revenue increased $331.3 million during the three months
            ended June 30, 2022 as compared to the same period of the prior year
 13         primarily due to an increase in North America primary and
            secondary ticket fees driven by more events on sale and upward
 14         pricing momentum due to higher fan demand in 2022 as compared to
            the resumption of concerts and sporting events starting late in the
 15         second quarter of 2021. Ticketing had incremental revenue of
            $26.1 million during three months ended June 30, 2022 due to
 16         acquisitions.
 17         27.    On October 26, 2022, the Company issues a press release in support of
 18 President Biden’s call for ticketing fee transparency, stating:

 19         We applaud President Biden’s advocacy for fee transparency in every
            industry, including live event ticketing. Live Nation Entertainment
 20         advocated for the all-in pricing mandate passed in New York earlier
            this year, which requires face-value prices and fees to be shown upfront
 21         – and we support the FTC mandating this nationally. We operate
            ticketing marketplaces in 30+ countries around the world and have seen
 22         all-in pricing adopted successfully in many countries when mandated
            across the board. This only works if all ticketing marketplaces go all-in
 23         together, so that consumers truly have accurate comparisons as they
            shop for tickets.
 24
            28.    Then, on November 3, 2022, Live Nation issued a press release
 25
      reporting its financial results for the quarter ended September 30, 2022, stating the
 26
      following:
 27
            As we have grown attendance, we have also continued driving greater
 28         market pricing for our concerts, and now expect to transfer over $550

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   1          million of additional payments to artists this year, continuing our
              efforts to help artists get the full value from their shows.
   2
                                          *     *       *
   3
              Finally on Ticketmaster, a point on some recent press regarding
   4          ticketing fees. We will continue to advocate for fee transparency in
              live event ticketing. We advocated for the all-in pricing mandate
   5          passed in New York earlier this year, which requires face-value prices
              and fees to be shown upfront – and we support the FTC mandating this
   6          nationally. We operate ticketing marketplaces in more than 30
              countries around the world and have seen all-in pricing adopted
   7          successfully in many countries when mandated across the board. This
              only works if all ticketing marketplaces adopt together, so that
   8          consumers truly can accurately compare as they shop for tickets.
   9          29.   The above statements identified in ¶¶ 23-28 were materially false
  10 and/or misleading, and failed to disclose material adverse facts about the Company’s

  11 business, operations, and prospects. Specifically, Defendants failed to disclose to

  12 investors: (1) that Live Nation engaged in anticompetitive conduct, including

  13 charging high fees and extended contracts with talent, and retaliated against venues;

  14 (2) that, as a result, Live Nation was reasonably likely to incur regulatory scrutiny

  15 and face fines, penalties, and reputational harm; and (3) that, as a result of the

  16 foregoing, Defendants’ positive statements about the Company’s business,

  17 operations, and prospects were materially misleading and/or lacked a reasonable

  18 basis.

  19          30.   The truth began to emerge on November 18, 2022, The New York
  20 Times reported that the DOJ had opened an antitrust investigation into Ticketmaster

  21 and Live Nation after the ticketing platform’s systems crashed during a highly-

  22 anticipated presale for Taylor Swift tickets. The ensuing chaos of disappointed

  23 “Swifties” highlighted Live Nation’s power over the live music industry,

  24 exacerbating complaints that the Company has “constrained competition and

  25 harmed consumers.” The article reported that the DOJ has “in recent months

  26 contacted music venues and players in the ticket market, asking about Live Nation’s

  27 practices and the wider dynamics of the industry,” and that the “inquiry appears to

  28 be broad, looking at whether the company maintains a monopoly over the industry,

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   1 one of the people said.” Furthermore, the article went into detail on the Taylor Swift

   2 ticket debacle, stating:

   3         The problems began Tuesday when Ticketmaster’s Verified Fan
             system, which aims to weed out bots and professional scalpers from the
   4         process, began doling out access codes to fans who were interested in
             buying tickets to Ms. Swift’s Eras tour, scheduled to start in March.
   5
             According to a blog post by Ticketmaster, which was published on
   6         Thursday but deleted within hours, 3.5 million fans registered for the
             program. The company “invited” 1.5 million of those customers to the
   7         presale by sending them codes, and the remaining two million were
             placed on a waiting list.
   8
             That day, Ticketmaster received 3.5 billion system requests, causing its
   9         app to crash for many users; some who were in the process of buying
             tickets with their codes were unable to complete their transactions.
  10         According to Ticketmaster, two million tickets were sold on Tuesday
             alone. Another presale, for Capital One cardholders, was held on
  11         Wednesday.
  12         But Thursday afternoon, Ticketmaster canceled its plans for a public
             ticket sale on Friday, when it would typically sell any tickets
  13         remaining after presales. It was unclear how many tickets had
             already been sold for Ms. Swift’s tour, and how many — if any —
  14         remained.
  15         On Friday, in her first comments about the ticketing debacle, Ms. Swift
             posted a statement to social media saying she was looking into the
  16         situation to see how it could be improved. But she also expressed
             disappointment in Ticketmaster.
  17
             “I’m not going to make excuses for anyone,” Ms. Swift wrote,
  18         “because we asked them, multiple times, if they could handle this kind
             of demand, and we were assured that they could.”
  19
             31.    On this news, Live Nation’s stock price fell $5.64, or 7.8%, to close at
  20
       $66.21 per share on November 18, 2022, on unusually heavy trading volume.
  21
             32.    On November 19, 2022, Live Nation issued a statement on the matter,
  22
       stating as follows:
  23
             A Statement From Live Nation Entertainment
  24
             As we have stated many times in the past, Live Nation takes its
  25         responsibilities under the antitrust laws seriously and does not
             engage in behaviors that could justify antitrust litigation, let alone
  26         orders that would require it to alter fundamental business practices.
  27         The concert promotion business is highly competitive, with artist
             management in control of selecting their promoting team. The demand
  28         for live entertainment continues to grow, and there are more promoters

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   1        than ever working with artists to help them connect with fans through
            live shows. The Department of Justice itself recognized the competitive
   2        nature of the concert promotion business at the time of the Live Nation-
            Ticketmaster merger. That dynamic has not changed.
   3
            Ticketmaster has a significant share of the primary ticketing services
   4        market because of the large gap that exists between the quality of the
            Ticketmaster system and the next best primary ticketing system. The
   5        market is increasingly competitive nonetheless, with rivals making
            aggressive offers to venues. That Ticketmaster continues to be the
   6        leader in such an environment is a testament to the platform and those
            who operate it, not to any anticompetitive business practices. 5 years
   7        ago tickets were paper, now you scan in with your phone, and can
            transfer tickets to your friend with one tap. We innovate and invest in
   8        our technology more than any other ticketing company, and we will
            continue to do so.
   9
            Secondary ticketing is extremely competitive, with Ticketmaster
  10        competing with StubHub, SeatGeek, Vivid and many others. No
            serious argument can be made that Ticketmaster has the kind of
  11        market position in secondary ticketing that supports antitrust claims.
  12        For the past 12 years Live Nation has operated under a Consent Decree
            that among other things seeks to prevent anticompetitive leveraging of
  13        Live Nation promoted content to advantage Ticketmaster. Pursuant to
            the Amended Decree voluntarily entered in 2020, Live Nation’s
  14        compliance is monitored by a former federal judge. There never has
            been and is not now any evidence of systemic violations of the
  15        Consent Decree. It remains against Live Nation policy to threaten
            venues that they won’t get Live Nation shows if they do not use
  16        Ticketmaster, and Live Nation does not re-route content as retaliation
            for a lost ticketing deal.
  17
            Ticketmaster is also the most transparent and fan-friendly ticketing
  18        system in the United States. Ticketmaster does not set or control
            ticket prices, strongly advocates for all-in pricing so that fans are not
  19        surprised by what tickets really cost, and is the undisputed market
            leader in ticket security and fighting bots. Ticketmaster also does not
  20        embrace deceptive and questionable secondary ticketing practices
            prevalent on rival sites such as speculative ticketing.
  21
            We are proud of the work we do across both concerts and ticketing, and
  22        will continue working to improve and support the live events industry.
  23        33.   The above statements identified in ¶ 32 were materially false and/or
  24 misleading, and failed to disclose material adverse facts about the Company’s

  25 business, operations, and prospects. Specifically, Defendants failed to disclose to

  26 investors: (1) that Live Nation engaged in anticompetitive conduct, including

  27 charging high fees and extended contracts with talent, and retaliated against venues;

  28 (2) that, as a result, Live Nation was reasonably likely to incur regulatory scrutiny

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   1 and face fines, penalties, and reputational harm; and (3) that, as a result of the

   2 foregoing, Defendants’ positive statements about the Company’s business,

   3 operations, and prospects were materially misleading and/or lacked a reasonable

   4 basis.

   5          34.      The truth continued to emerge on February 23, 2023, when NPR
   6 reported that the Senate Judiciary Subcommittee on Competition Policy, Antitrust,

   7 and Consumer Rights called on the DOJ to continue examining the “anticompetitive

   8 conduct” of Live Nation and Ticketmaster, citing issues with Live Nation’s pricing

   9 models and fees, increasingly long contracts with competitors, and alleged

  10 retaliatory behavior against artists and venues that do not want to work with it. In a

  11 letter to Assistant Attorney General for Antitrust, Jonathan Kanter, Senator Amy

  12 Klobuchar wrote:

  13          As you know, we have long been concerned about the state of
              competition in America’s ticketing industry, especially with the power
  14          and reach of Live Nation and its wholly-owned subsidiary,
              Ticketmaster. We strongly believe that music and live events connect
  15          communities and bring people together. For too long, Live Nation and
              Ticketmaster have wielded monopoly power anticompetitively,
  16          harming fans and artists alike.
  17          We recently held a bipartisan hearing in the Senate Judiciary
              Committee at which the President of Live Nation testified under oath,
  18          as did other industry participants, including an artist, a secondary
              market ticketing company, a promoter, and industry experts. We write
  19          to share some of the evidence developed at that hearing and to
              encourage the Division to follow up on some remaining questions in
  20          this industry.
  21          As an initial matter, other than Live Nation’s executive, every witness
              at our hearing testified that Live Nation is harming America’s music
  22          industry. For example:
  23                 The Founder and CEO of Seat Geek testified that Ticketmaster
                      now uses even longer exclusive agreements with venues, in some
  24                  instances as long as ten years.
  25                 Clyde Lawrence, lead singer in the band Lawrence, testified that
                      on a $30 ticket, Live Nation adds $12 in fees, and of that $42
  26                  price the customer pays, only $12 goes to the band before
                      accounting for its cost of the tour.
  27
                     A competing promoter, Jam Productions, testified that Live
  28                  Nation attempts to lock up talent so competitors cannot produce

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   1                  concert tours. He also noted that 87 percent of Billboard’s Top
                      40 Tours in 2022 were ticketed by Ticketmaster in the U.S. and
   2                  that Ticketmaster has exclusive ticketing contracts for more than
                      85 percent of the nation’s NFL, NHL, and NBA teams. (While
   3                  Live Nation contested the accuracy of this data, it failed to
                      provide any alternative data.)
   4
                    A public policy expert at the James Madison Institute testified
   5                 that Ticketmaster’s market dominance allows it to harm
                     consumers through charging service fees and demanding
   6                 exclusivities. In particular, he noted that the service fees can be
                     greater than 30 percent and “are tacked on at the very end of the
   7                 process, on the very last screen before purchasing,” raising
                     questions about deceptive pricing strategies.
   8
                    A former DOJ lawyer testified that the conduct remedies in the
   9                 2010 consent decree from the Live Nation-Ticketmaster merger
                     investigation have failed and that such failures constitute hard
  10                 evidence of the firm’s monopoly power. She also testified that
                     “the company still has the power to silence market participants
  11                 who fear its retaliation.”
  12         35.      Seemingly in response to the senators’ letter, Live Nation issued a
  13 statement on February 23, 2023, stating:

  14         If there’s any chance of improving ticketing for fans and artists, we all
             need to focus on the facts. In the last few weeks alone, we’ve submitted
  15         more than 35 pages of information to provide greater context and
             transparency to policymakers on the realities of the industry. These
  16         include the fact that this industry is more competitive than ever:
             Ticketmaster has actually lost market share since the 2010 merger, not
  17         gained it; that venues set and keep most of the fees associated with
             tickets and are increasingly taking an ever-larger share; and
  18         Ticketmaster has for years been advocating for a federal all-in pricing
             requirement. We believe that policymakers would benefit from asking
  19         more questions about the chaos caused by scalpers and the resale-
             first side of the industry. We remain committed to working with
  20         lawmakers on developing reforms that will benefit fans and artists
             including those outlined in a FAIR Ticketing Act.
  21
             36.      On February 23, 2023, after the market closed, Live Nation filed its
  22
       annual report on Form 10-K for the period ended December 31, 2022. Therein, the
  23
       Company touted claims of the competitive nature of the live entertainment industry,
  24
       seemingly refuting allegations of its monopoly on the industry, stating:
  25
             Competition
  26
             Competition in the live entertainment industry is intense. We believe
  27         that we compete primarily on the basis of our ability to deliver quality
             music events, sell tickets and provide enhanced fan and artist
  28         experiences. . . .

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   1                                    *      *        *
   2       Some of our competitors in the live music industry have a stronger
           presence in certain markets, have access to other sports and
   3       entertainment venues and may have greater financial resources in those
           markets, which may enable them to gain a greater competitive
   4       advantage in relation to us.
   5       In markets where we own or operate a venue, we compete with other
           venues to serve artists likely to perform in that general region.
   6       Consequently, touring artists have various alternatives to our venues
           when scheduling tours. Our main competitors in venue management
   7       include ASM Global, Madison Square Garden Entertainment Corp.,
           The Nederlander Organization and Bowery Presents, in addition to
   8       numerous smaller regional companies in North America, Europe,
           Australia and New Zealand. Some of our competitors in venue
   9       management may have more attractive or a greater number of venues in
           certain markets, and may have greater financial resources in those
  10       markets.
  11       The ticketing services industry includes the sale of tickets primarily
           through online and mobile channels, but also through telephone and
  12       ticket outlets. The transition to online and mobile ticket purchases has
           made it easier for technology-based companies to offer primary
  13       ticketing services and standalone, automated ticketing systems that
           enable venues to perform their own ticketing services or utilize self-
  14       ticketing systems. In the online environment, we compete with other
           websites, online event sites and ticketing companies to provide event
  15       information, sell tickets and provide other online services such as fan
           clubs and artist websites.
  16
           We experience competition from other national, regional and local
  17       primary ticketing service providers to secure new venues and to reach
           fans for events. Resale, or secondary, ticketing services have created
  18       more aggressive buying of primary tickets whereby certain brokers are
           using automated internet “bot” technology to attempt to buy the best
  19       tickets when they go on sale, notwithstanding federal and state
           prohibitions. We actively develop and apply methods to mitigate the
  20       impact of these bots, however, the bot technology constantly evolves
           and changes. The internet allows fans and other ticket resellers to reach
  21       a vastly larger audience through the aggregation of inventory on resale
           websites and marketplaces, and provides consumers with more
  22       convenient access to tickets for a larger number and greater variety of
           events.
  23
           We also face significant and increasing competition from companies
  24       that sell self-ticketing systems, as well as from venues that choose to
           integrate self-ticketing systems into their existing operations or acquire
  25       primary ticketing service providers. Our competitors include primary
           ticketing companies such as Tickets.com, AXS, Paciolan, Inc., CTS
  26       Eventim AG, Eventbrite, eTix, SeatGeek, Ticketek, See Tickets and
           Dice; secondary ticketing companies such as StubHub, Vivid Seats,
  27       Viagogo and SeatGeek; and many others, including large technology
           and ecommerce companies that we understand have recently entered or
  28       could enter these markets.

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   1         Our main competitors at the local market level for sponsorships and
             advertising dollars include local sports teams, which often offer state-
   2         of-the-art venues, strong brand association and attractive local media
             packages, as well as festivals, theme parks and other local events. On
   3         the national level, our competitors include the major sports leagues that
             sell sponsorships combined with significant national media packages.
   4
             37.    Additionally, in the 2022 10-K, Live Nation addressed the Taylor Swift
   5
       incident, shifting responsibility onto hackers and “bots”, stating:
   6
             Although we have developed systems and processes that are designed
   7         to protect customer and employee information and to prevent security
             breaches or incidents (which could result in data loss or other harm or
   8         loss), such measures cannot provide absolute security or certainty. It is
             possible that advances in computer and hacker capabilities, new
   9         variants of malware, the development of new penetration methods and
             tools, inadvertent violations of company policies or procedures or other
  10         developments could result in a compromise of customer or employee
             information or a breach of the technology and security processes that
  11         are used to protect customer and employee information. The techniques
             used to obtain unauthorized access, automate or expedite transactions
  12         or other activities on our platform (e.g., “bots”), disable or degrade
             service or sabotage systems (or otherwise bring about one or more of
  13         these effects) may change frequently and as a result, may be difficult
             for our business to detect for long periods of time and may impact the
  14         efficacy of our defenses and/or the products and services we provide. In
             addition, despite our best efforts, we may be unaware of or unable to
  15         anticipate these techniques or implement adequate preventative
             measures. For instance, in November 2022, significant bot activity in
  16         connection with a large ticket onsale significantly contributed to a
             degraded website experience for customers and our eventually
  17         needing to pause the on-sale to address these issues. We have
             expended significant capital and other resources to protect against and
  18         remedy such potential security breaches, incidents and their
             consequences, including the establishment of a dedicated cybersecurity
  19         organization within our larger technology environment, and will
             continue to do so in the future.
  20
             38.    On this news, Live Nation’s stock price fell $7.71, or 10.1%, to close at
  21
       $68.78 per share on February 24, 2023, on unusually heavy trading volume. As
  22
       observed by an article by Barron’s published on February 24, 2023 entitled “Live
  23
       Nation’s Stock Is Paying for the Taylor Swift Ticket Mess”:
  24
             Live Nation Entertainment gave investors an upbeat earnings report and
  25         outlook but the stock on Friday was on track for its worst day in nearly
             a year. Worries about regulatory scrutiny and margins may be
  26         weighing on shares of the Ticketmaster parent.
  27         39.    On July 27, 2023, Live Nation submitted its 10-Q for quarter ended
  28 June 30, 2023. Therein, the Company stated:

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   1          We are optimistic about the long-term potential of our Company and
              are focused on the key elements of our business model: expanding our
   2          concerts platform with more shows and fans in both existing and new
              markets as well as improving the on-site experience for our fans by
   3          enhancing food and beverage products and premium service offerings.
              We will drive conversion of ticket sales through development of
   4          innovative products that support selling tickets to fans. Our ticket
              marketplaces have reduced friction in the ticket purchase experience
   5          and created additional revenue opportunities. In addition, we continue
              to grow our sponsorship and advertising partnerships and our clients
   6          are able to reach their customers via the powerful connection that live
              shows creates with ardent fans.
   7
              Serving artists remains at the center of our strategy and we work with
   8          them to continue improving the fan experience. We joined with more
              than 20 of the industry’s top artist coalitions, management groups,
   9          music labels, and agencies to propose the FAIR Ticketing Act which
              focuses on reforms that will protect fans, artists, and venues. As part of
  10          this, we joined with President Biden to champion all-in pricing at the
              venues we operate and pushed for increased transparency to consumers,
  11          outlawing speculative tickets, greater enforcement of the BOTS Act
              and elimination of other deceptive practices. We believe these are
  12          positive first steps to a broader reform that is needed in the industry.
  13          40.   The above statements identified in ¶¶ 35-37, 39 were materially false
  14 and/or misleading, and failed to disclose material adverse facts about the Company’s

  15 business, operations, and prospects. Specifically, Defendants failed to disclose to

  16 investors: (1) that Live Nation engaged in anticompetitive conduct, including

  17 charging high fees and extended contracts with talent, and retaliated against venues;

  18 (2) that, as a result, Live Nation was reasonably likely to incur regulatory scrutiny

  19 and face fines, penalties, and reputational harm; and (2) that, as a result of the

  20 foregoing, Defendants’ positive statements about the Company’s business,

  21 operations, and prospects were materially misleading and/or lacked a reasonable

  22 basis.

  23                        Disclosures at the End of the Class Period
  24          41.   On July 28, 2023 at 3:13 p.m. Eastern time, Politico reported that the
  25 DOJ “could file an antitrust lawsuit against [Live Nation and Ticketmaster] by the

  26 end of the year, according to three people with knowledge of the matter.” Politico

  27 further reported that the DOJ complaint is expected to allege that “the entertainment

  28 giant is abusing its power over the live music industry.”

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   1         42.   On this news, Live Nation’s stock price fell $7.60, or 7.8%, to close at
   2 $89.33 per share on July 28, 2023, on unusually heavy trading volume.

   3                          CLASS ACTION ALLEGATIONS
   4         43.   Plaintiff brings this action as a class action pursuant to Federal Rule of
   5 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and

   6 entities that purchased or otherwise acquired Live Nation securities between

   7 February 23, 2022 and July 28, 2023, inclusive, and who were damaged thereby (the

   8 “Class”). Excluded from the Class are Defendants, the officers and directors of the

   9 Company, at all relevant times, members of their immediate families and their legal

  10 representatives, heirs, successors, or assigns, and any entity in which Defendants

  11 have or had a controlling interest.

  12         44.   The members of the Class are so numerous that joinder of all members
  13 is impracticable. Throughout the Class Period, Live Nation’s shares actively traded

  14 on the New York Stock Exchange. While the exact number of Class members is

  15 unknown to Plaintiff at this time and can only be ascertained through appropriate

  16 discovery, Plaintiff believes that there are at least hundreds or thousands of

  17 members in the proposed Class.         Millions of Live Nation shares were traded
  18 publicly during the Class Period on the New York Stock Exchange. Record owners

  19 and other members of the Class may be identified from records maintained by Live

  20 Nation or its transfer agent and may be notified of the pendency of this action by

  21 mail, using the form of notice similar to that customarily used in securities class

  22 actions.

  23         45.   Plaintiff’s claims are typical of the claims of the members of the Class
  24 as all members of the Class are similarly affected by Defendants’ wrongful conduct

  25 in violation of federal law that is complained of herein.

  26         46.   Plaintiff will fairly and adequately protect the interests of the members
  27 of the Class and has retained counsel competent and experienced in class and

  28 securities litigation.

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   1        47.    Common questions of law and fact exist as to all members of the Class
   2 and predominate over any questions solely affecting individual members of the

   3 Class. Among the questions of law and fact common to the Class are:

   4               (a)   whether the federal securities laws were violated by Defendants’
   5 acts as alleged herein;

   6               (b)   whether statements made by Defendants to the investing public
   7 during the Class Period omitted and/or misrepresented material facts about the

   8 business, operations, and prospects of Live Nation; and

   9               (c)   to what extent the members of the Class have sustained damages
  10 and the proper measure of damages.

  11        48.    A class action is superior to all other available methods for the fair and
  12 efficient adjudication of this controversy since joinder of all members is

  13 impracticable. Furthermore, as the damages suffered by individual Class members

  14 may be relatively small, the expense and burden of individual litigation makes it

  15 impossible for members of the Class to individually redress the wrongs done to

  16 them. There will be no difficulty in the management of this action as a class action.

  17                           UNDISCLOSED ADVERSE FACTS
  18        49.    The market for Live Nation’s securities was open, well-developed and
  19 efficient at all relevant times. As a result of these materially false and/or misleading

  20 statements, and/or failures to disclose, Live Nation’s securities traded at artificially

  21 inflated prices during the Class Period. Plaintiff and other members of the Class

  22 purchased or otherwise acquired Live Nation’s securities relying upon the integrity

  23 of the market price of the Company’s securities and market information relating to

  24 Live Nation, and have been damaged thereby.

  25        50.    During the Class Period, Defendants materially misled the investing
  26 public, thereby inflating the price of Live Nation’s securities, by publicly issuing

  27 false and/or misleading statements and/or omitting to disclose material facts

  28 necessary to make Defendants’ statements, as set forth herein, not false and/or

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   1 misleading. The statements and omissions were materially false and/or misleading

   2 because they failed to disclose material adverse information and/or misrepresented

   3 the truth about Live Nation’s business, operations, and prospects as alleged herein.

   4         51.   At all relevant times, the material misrepresentations and omissions
   5 particularized in this Complaint directly or proximately caused or were a substantial

   6 contributing cause of the damages sustained by Plaintiff and other members of the

   7 Class. As described herein, during the Class Period, Defendants made or caused to

   8 be made a series of materially false and/or misleading statements about Live

   9 Nation’s financial well-being and prospects. These material misstatements and/or

  10 omissions had the cause and effect of creating in the market an unrealistically

  11 positive assessment of the Company and its financial well-being and prospects, thus

  12 causing the Company’s securities to be overvalued and artificially inflated at all

  13 relevant times. Defendants’ materially false and/or misleading statements during

  14 the Class Period resulted in Plaintiff and other members of the Class purchasing the

  15 Company’s securities at artificially inflated prices, thus causing the damages

  16 complained of herein when the truth was revealed.

  17                                 LOSS CAUSATION
  18         52.   Defendants’ wrongful conduct, as alleged herein, directly and
  19 proximately caused the economic loss suffered by Plaintiff and the Class.

  20         53.   During the Class Period, Plaintiff and the Class purchased Live
  21 Nation’s securities at artificially inflated prices and were damaged thereby. The

  22 price    of   the   Company’s     securities     significantly   declined   when   the
  23 misrepresentations made to the market, and/or the information alleged herein to

  24 have been concealed from the market, and/or the effects thereof, were revealed,

  25 causing investors’ losses.

  26                              SCIENTER ALLEGATIONS
  27         54.   As alleged herein, Defendants acted with scienter since Defendants
  28 knew that the public documents and statements issued or disseminated in the name

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   1 of the Company were materially false and/or misleading; knew that such statements

   2 or documents would be issued or disseminated to the investing public; and

   3 knowingly and substantially participated or acquiesced in the issuance or

   4 dissemination of such statements or documents as primary violations of the federal

   5 securities laws. As set forth elsewhere herein in detail, the Individual Defendants,

   6 by virtue of their receipt of information reflecting the true facts regarding Live

   7 Nation, their control over, and/or receipt and/or modification of Live Nation’s

   8 allegedly materially misleading misstatements and/or their associations with the

   9 Company which made them privy to confidential proprietary information

  10 concerning Live Nation, participated in the fraudulent scheme alleged herein.

  11              APPLICABILITY OF PRESUMPTION OF RELIANCE
  12                     (FRAUD-ON-THE-MARKET DOCTRINE)
  13        55.    The market for Live Nation’s securities was open, well-developed and
  14 efficient at all relevant times. As a result of the materially false and/or misleading

  15 statements and/or failures to disclose, Live Nation’s securities traded at artificially

  16 inflated prices during the Class Period. On February 25, 2022, the Company’s share

  17 price closed at a Class Period high of $126.04 per share.          Plaintiff and other
  18 members of the Class purchased or otherwise acquired the Company’s securities

  19 relying upon the integrity of the market price of Live Nation’s securities and market

  20 information relating to Live Nation, and have been damaged thereby.

  21        56.    During the Class Period, the artificial inflation of Live Nation’s shares
  22 was caused by the material misrepresentations and/or omissions particularized in

  23 this Complaint causing the damages sustained by Plaintiff and other members of the

  24 Class. As described herein, during the Class Period, Defendants made or caused to

  25 be made a series of materially false and/or misleading statements about Live

  26 Nation’s business, prospects, and operations. These material misstatements and/or

  27 omissions created an unrealistically positive assessment of Live Nation and its

  28 business, operations, and prospects, thus causing the price of the Company’s

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   1 securities to be artificially inflated at all relevant times, and when disclosed,

   2 negatively affected the value of the Company shares. Defendants’ materially false

   3 and/or misleading statements during the Class Period resulted in Plaintiff and other

   4 members of the Class purchasing the Company’s securities at such artificially

   5 inflated prices, and each of them has been damaged as a result.

   6          57.   At all relevant times, the market for Live Nation’s securities was an
   7 efficient market for the following reasons, among others:

   8                (a)   Live Nation shares met the requirements for listing, and was
   9 listed and actively traded on the New York Stock Exchange, a highly efficient and

  10 automated market;

  11                (b)   As a regulated issuer, Live Nation filed periodic public reports
  12 with the SEC and/or the New York Stock Exchange;

  13                (c)   Live Nation regularly communicated with public investors via
  14 established    market communication mechanisms, including through regular
  15 dissemination of press releases on the national circuits of major newswire services

  16 and through other wide-ranging public disclosures, such as communications with the

  17 financial press and other similar reporting services; and/or

  18                (d)   Live Nation was followed by securities analysts employed by
  19 brokerage firms who wrote reports about the Company, and these reports were

  20 distributed to the sales force and certain customers of their respective brokerage

  21 firms.     Each of these reports was publicly available and entered the public
  22 marketplace.

  23          58.   As a result of the foregoing, the market for Live Nation’s securities
  24 promptly digested current information regarding Live Nation from all publicly

  25 available sources and reflected such information in Live Nation’s share price. Under

  26 these circumstances, all purchasers of Live Nation’s securities during the Class

  27 Period suffered similar injury through their purchase of Live Nation’s securities at

  28 artificially inflated prices and a presumption of reliance applies.

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   1        59.    A Class-wide presumption of reliance is also appropriate in this action
   2 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

   3 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded

   4 on Defendants’ material misstatements and/or omissions.          Because this action
   5 involves Defendants’ failure to disclose material adverse information regarding the

   6 Company’s      business operations and financial prospects—information that
   7 Defendants were obligated to disclose—positive proof of reliance is not a

   8 prerequisite to recovery. All that is necessary is that the facts withheld be material

   9 in the sense that a reasonable investor might have considered them important in

  10 making investment decisions. Given the importance of the Class Period material

  11 misstatements and omissions set forth above, that requirement is satisfied here.

  12                                 NO SAFE HARBOR
  13        60.    The statutory safe harbor provided for forward-looking statements
  14 under certain circumstances does not apply to any of the allegedly false statements

  15 pleaded in this Complaint. The statements alleged to be false and misleading herein

  16 all relate to then-existing facts and conditions. In addition, to the extent certain of

  17 the statements alleged to be false may be characterized as forward looking, they

  18 were not identified as “forward-looking statements” when made and there were no

  19 meaningful cautionary statements identifying important factors that could cause

  20 actual results to differ materially from those in the purportedly forward-looking

  21 statements. In the alternative, to the extent that the statutory safe harbor is

  22 determined to apply to any forward-looking statements pleaded herein, Defendants

  23 are liable for those false forward-looking statements because at the time each of

  24 those forward-looking statements was made, the speaker had actual knowledge that

  25 the forward-looking statement was materially false or misleading, and/or the

  26 forward-looking statement was authorized or approved by an executive officer of

  27 Live Nation who knew that the statement was false when made.

  28

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   1                                       FIRST CLAIM
   2                 Violation of Section 10(b) of The Exchange Act and
   3                         Rule 10b-5 Promulgated Thereunder
   4                                 Against All Defendants
   5        61.    Plaintiff repeats and re-alleges each and every allegation contained
   6 above as if fully set forth herein.

   7        62.    During the Class Period, Defendants carried out a plan, scheme and
   8 course of conduct which was intended to and, throughout the Class Period, did: (i)

   9 deceive the investing public, including Plaintiff and other Class members, as alleged

  10 herein; and (ii) cause Plaintiff and other members of the Class to purchase Live

  11 Nation’s securities at artificially inflated prices.   In furtherance of this unlawful
  12 scheme, plan and course of conduct, Defendants, and each defendant, took the

  13 actions set forth herein.

  14        63.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
  15 made untrue statements of material fact and/or omitted to state material facts

  16 necessary to make the statements not misleading; and (iii) engaged in acts, practices,

  17 and a course of business which operated as a fraud and deceit upon the purchasers of

  18 the Company’s securities in an effort to maintain artificially high market prices for

  19 Live Nation’s securities in violation of Section 10(b) of the Exchange Act and Rule

  20 10b-5. All Defendants are sued either as primary participants in the wrongful and

  21 illegal conduct charged herein or as controlling persons as alleged below.

  22        64.    Defendants, individually and in concert, directly and indirectly, by the
  23 use, means or instrumentalities of interstate commerce and/or of the mails, engaged

  24 and participated in a continuous course of conduct to conceal adverse material

  25 information about Live Nation’s financial well-being and prospects, as specified

  26 herein.

  27        65.    Defendants employed devices, schemes and artifices to defraud, while
  28 in possession of material adverse non-public information and engaged in acts,

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   1 practices, and a course of conduct as alleged herein in an effort to assure investors of

   2 Live Nation’s value and performance and continued substantial growth, which

   3 included the making of, or the participation in the making of, untrue statements of

   4 material facts and/or omitting to state material facts necessary in order to make the

   5 statements made about Live Nation and its business operations and future prospects

   6 in light of the circumstances under which they were made, not misleading, as set

   7 forth more particularly herein, and engaged in transactions, practices and a course of

   8 business which operated as a fraud and deceit upon the purchasers of the Company’s

   9 securities during the Class Period.

  10        66.    Each of the Individual Defendants’ primary liability and controlling
  11 person liability arises from the following facts: (i) the Individual Defendants were

  12 high-level executives and/or directors at the Company during the Class Period and

  13 members of the Company’s management team or had control thereof; (ii) each of

  14 these defendants, by virtue of their responsibilities and activities as a senior officer

  15 and/or director of the Company, was privy to and participated in the creation,

  16 development and reporting of the Company’s internal budgets, plans, projections

  17 and/or reports; (iii) each of these defendants enjoyed significant personal contact

  18 and familiarity with the other defendants and was advised of, and had access to,

  19 other members of the Company’s management team, internal reports and other data

  20 and information about the Company’s finances, operations, and sales at all relevant

  21 times; and (iv) each of these defendants was aware of the Company’s dissemination

  22 of information to the investing public which they knew and/or recklessly

  23 disregarded was materially false and misleading.

  24        67.    Defendants had actual knowledge of the misrepresentations and/or
  25 omissions of material facts set forth herein, or acted with reckless disregard for the

  26 truth in that they failed to ascertain and to disclose such facts, even though such

  27 facts were available to them. Such defendants’ material misrepresentations and/or

  28 omissions were done knowingly or recklessly and for the purpose and effect of

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   1 concealing Live Nation’s financial well-being and prospects from the investing

   2 public and supporting the artificially inflated price of its securities. As demonstrated

   3 by Defendants’ overstatements and/or misstatements of the Company’s business,

   4 operations, financial well-being, and prospects throughout the Class Period,

   5 Defendants, if they did not have actual knowledge of the misrepresentations and/or

   6 omissions alleged, were reckless in failing to obtain such knowledge by deliberately

   7 refraining from taking those steps necessary to discover whether those statements

   8 were false or misleading.

   9        68.    As a result of the dissemination of the materially false and/or
  10 misleading information and/or failure to disclose material facts, as set forth above,

  11 the market price of Live Nation’s securities was artificially inflated during the Class

  12 Period. In ignorance of the fact that market prices of the Company’s securities were

  13 artificially inflated, and relying directly or indirectly on the false and misleading

  14 statements made by Defendants, or upon the integrity of the market in which the

  15 securities trades, and/or in the absence of material adverse information that was

  16 known to or recklessly disregarded by Defendants, but not disclosed in public

  17 statements by Defendants during the Class Period, Plaintiff and the other members

  18 of the Class acquired Live Nation’s securities during the Class Period at artificially

  19 high prices and were damaged thereby.

  20        69.    At the time of said misrepresentations and/or omissions, Plaintiff and
  21 other members of the Class were ignorant of their falsity, and believed them to be

  22 true. Had Plaintiff and the other members of the Class and the marketplace known

  23 the truth regarding the problems that Live Nation was experiencing, which were not

  24 disclosed by Defendants, Plaintiff and other members of the Class would not have

  25 purchased or otherwise acquired their Live Nation securities, or, if they had acquired

  26 such securities during the Class Period, they would not have done so at the

  27 artificially inflated prices which they paid.

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   1        70.    By virtue of the foregoing, Defendants violated Section 10(b) of the
   2 Exchange Act and Rule 10b-5 promulgated thereunder.

   3        71.    As a direct and proximate result of Defendants’ wrongful conduct,
   4 Plaintiff and the other members of the Class suffered damages in connection with

   5 their respective purchases and sales of the Company’s securities during the Class

   6 Period.

   7                                       SECOND CLAIM
   8                    Violation of Section 20(a) of The Exchange Act
   9                           Against the Individual Defendants
  10        72.    Plaintiff repeats and re-alleges each and every allegation contained
  11 above as if fully set forth herein.

  12        73.    Individual Defendants acted as controlling persons of Live Nation
  13 within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

  14 virtue of their high-level positions and their ownership and contractual rights,

  15 participation in, and/or awareness of the Company’s operations and intimate

  16 knowledge of the false financial statements filed by the Company with the SEC and

  17 disseminated to the investing public, Individual Defendants had the power to

  18 influence and control and did influence and control, directly or indirectly, the

  19 decision-making of the Company, including the content and dissemination of the

  20 various statements which Plaintiff contends are false and misleading. Individual

  21 Defendants were provided with or had unlimited access to copies of the Company’s

  22 reports, press releases, public filings, and other statements alleged by Plaintiff to be

  23 misleading prior to and/or shortly after these statements were issued and had the

  24 ability to prevent the issuance of the statements or cause the statements to be

  25 corrected.

  26        74.    In particular, Individual Defendants had direct and supervisory
  27 involvement in the day-to-day operations of the Company and, therefore, had the

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   1 power to control or influence the particular transactions giving rise to the securities

   2 violations as alleged herein, and exercised the same.

   3        75.    As set forth above, Live Nation and Individual Defendants each
   4 violated Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this

   5 Complaint. By virtue of their position as controlling persons, Individual Defendants

   6 are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

   7 result of Defendants’ wrongful conduct, Plaintiff and other members of the Class

   8 suffered damages in connection with their purchases of the Company’s securities

   9 during the Class Period.

  10                                PRAYER FOR RELIEF
  11        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
  12        (a)    Determining that this action is a proper class action under Rule 23 of
  13 the Federal Rules of Civil Procedure;

  14        (b)    Awarding compensatory damages in favor of Plaintiff and the other
  15 Class members against all defendants, jointly and severally, for all damages

  16 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

  17 including interest thereon;

  18        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
  19 incurred in this action, including counsel fees and expert fees; and

  20        (d)    Such other and further relief as the Court may deem just and proper.
  21                               JURY TRIAL DEMANDED
  22        Plaintiff hereby demands a trial by jury.
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   1 DATED: August 4, 2023            GLANCY PRONGAY & MURRAY LLP
   2
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                        SWORN CERTIFICATION OF PLAINTIFF


         LIVE NATION ENTERTAINMENT, INC. SECURITIES LITIGATION


       I, Brian Donley, certify that:

       1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
          Lead Plaintiff motion on my behalf.

       2. I did not purchase the Live Nation Entertainment, Inc. securities that are the subject
          of this action at the direction of plaintiff’s counsel or in order to participate in any
          private action arising under this title.

       3. I am willing to serve as a representative party on behalf of a class and will testify at
          deposition and trial, if necessary.

       4. My transactions in Live Nation Entertainment, Inc. securities during the Class Period
          set forth in the Complaint are as follows:

              (See attached transactions)

       5. I have not sought to serve, nor served, as a representative party on behalf of a class
          under this title during the last three years, except for the following:

       6. I will not accept any payment for serving as a representative party, except to receive
          my pro rata share of any recovery or as ordered or approved by the court, including
          the award to a representative plaintiff of reasonable costs and expenses (including lost
          wages) directly relating to the representation of the class.


       I declare under penalty of perjury that the foregoing are true and correct statements.



      8/2/2023
    ________________                          _________________________________________
          Date                                             Brian Donley
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         Brian Donley's Transactions in Live Nation Entertainment, Inc. (LYV)
            Date       Transaction Type       Quantity        Unit Price
           7/25/2023        Bought                      5            $97.2500
